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 Fill in this information to identify your case:

 Debtor 1                 Christina Michelle Lessels
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Diamond Resorts Financial                             Surrender the property.                        No
    name:              Services, Inc.                                        Retain the property and redeem it.
                                                                                                                            Yes
                                                                             Retain the property and enter into a
    Description of       Timeshare in Virginia Beach                         Reaffirmation Agreement.
    property             with usage every other year,                        Retain the property and [explain]:
    securing debt:       never used.



    Creditor's         Freedom Federal Credit Union                          Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of       2016 Hyundai Tucson 38,000                          Reaffirmation Agreement.
    property             miles                                               Retain the property and [explain]:
    securing debt:                                                          continuing monthly payments


    Creditor's         Freedom Federal Credit Union                          Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of       2016 Hyundai Tuscon 60,000                          Reaffirmation Agreement.
    property             miles                                               Retain the property and [explain]:

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 Debtor 1      Christina Michelle Lessels                                                             Case number (if known)


    securing debt:                                                        Continuing monthly payments


    Creditor's     Mr. Cooper                                               Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1100 Lapidum Road Havre De                          Reaffirmation Agreement.
    property            Grace, MD 21078 Harford                             Retain the property and [explain]:
    securing debt:      County



    Creditor's     Select Portfolio Servicing, Inc.                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      A single family located at 1100                     Reaffirmation Agreement.
    property            Lapidum Road, Havre de Grace,                       Retain the property and [explain]:
    securing debt:      MD 210178

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Christina Michelle Lessels                                                            Case number (if known)



 X     /s/ Christina Michelle Lessels                                               X
       Christina Michelle Lessels                                                       Signature of Debtor 2
       Signature of Debtor 1

       Date        September 5, 2018                                                Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                    page 3

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